     Case 2:19-cv-11793-BWA-DPC Document 305 Filed 07/28/21 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


 KATHERINE MUSLOW, et al.                                          CIVIL ACTION

 VERSUS                                                            NO. 19-11793

 BOARD OF SUPERVISORS OF                                           SECTION M (2)
 LOUISIANA STATE UNIVERSITY
 AND AGRICULTURAL AND
 MECHANICAL COLLEGE, et al.


                                             ORDER

       Before the Court is defendants’ appeal from and objections to the magistrate judge’s order

and reasons on defendants’ motion to compel disclosure of Meredith Cunningham’s personnel file

from her former employer Barrasso Usdin Kupperman Freeman & Sarver, L.L.C. (“Barrasso

Usdin”).1 Plaintiffs respond in opposition.2 Having considered the magistrate judge’s order and

reasons,3 the motion, the opposition, the record, and the applicable law, the Court issues this Order

& Reasons.

       In this electronic age, personnel records of an employee are normally not maintained only

in a physical “personnel file,” but may be retained as electronic documents on an entity’s computer

system. Upon the Court’s review of the language used in the communications between defendants’

counsel and Barrasso Usdin, the term “personnel records” in the personnel records authorization

may have been construed too narrowly by Barrasso Usdin to mean the contents of a physical file.

Accordingly,




       1
         R. Doc. 293 (citing R. Doc. 282).
       2
         R. Doc. 302.
       3
         R. Doc. 282.
     Case 2:19-cv-11793-BWA-DPC Document 305 Filed 07/28/21 Page 2 of 2




       IT IS ORDERED that, consistent with the magistrate judge’s order and reasons, Barrasso

Usdin produce to defendants all non-medical personnel records related to Cunningham’s

employment at the firm, whether or not they are kept in a physical “personnel file,” no later than

August 6, 2021.

       IT IS FURTHER ORDERED that by August 3, 2021, Barrasso Usdin produce to the

Court for in camera inspection the 130-page file it refers to as Cunningham’s medical file so

that the Court can evaluate whether the file consists solely of nonproducible medical records.

        New Orleans, Louisiana, this 28th day of July, 2021.



                                                    ________________________________
                                                    BARRY W. ASHE
                                                    UNITED STATES DISTRICT JUDGE
